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14   UNITED STATES OF AMERICA,                      )   Case No. CR 21-121 JD
                                                    )
15           Plaintiff,                             )
                                                    )   GOVERNMENT’S REPLY I/S/O MOTION TO
16      v.                                          )   REVOKE RELEASE ORDER
                                                    )
17   SIMON SAGE YBARRA,                             )
                                                    )   Hearing:     May 10, 2021
18           Defendant.                             )   Time:        11:00 a.m.
                                                    )
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 1 I.       INTRODUCTION

 2          In his opposition to the government’s motion to revoke his bond, see Dkt #34, Simon Sage

 3 YBARRA does not dispute or even address any of the facts the government proffered showing that he

 4 was a member of a violent extremist group who himself had no respect for courts and the law. All he

 5 says is that the Court should disregard it all because the Court would have to presume his guilt in order

 6 to consider any of it. That is incorrect. The Court may and should consider those facts as evidence of

 7 the danger he poses to the community, the risk that he won’t appear as the Court orders, and his

 8 unwillingness to comply with the conditions of his release.

 9          YBARRA also argues that the conditions on his release that the Magistrate Judge imposed are

10 sufficient to mitigate any danger or flight risk he poses. The government disagrees. First, YBARRA

11 was living with his guardians when he armed himself, joined a violent extremist group, and began

12 planning for armed confrontation with law enforcement. As well-meaning as his guardians may be, they

13 do not appear able to detect and prevent him from engaging in exactly the behavior that brought him

14 here. Second, the fact that YBARRA did not flee after the FBI first contacted him in August 2020, and

15 that he continued to speak to the agents through the Fall and into 2021, does not indicate that he is

16 neither a flight risk nor a danger. The tapes of those conversations indicate that YBARRA’s strategy

17 then was to try to convince the government not to charge him. That didn’t work. He is thus in a

18 different situation now, and his behavior between August 2020 and his arrest on April 8, 2021 says little
19 about how he will behave in the future. For these reasons, and the reasons set forth in the government’s

20 motion, see Dkt #12, the government asks that the Court revoke his bond and remand him.

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22 II.      DISCUSSION

23          A.      YBARRA Remains a Danger to the Community.

24          YBARRA does not dispute that he was a member of a violent extremist group that discussed and

25 trained for armed confrontations with law enforcement. He does not dispute that he announced to

26 another member of that group that he didn’t respect a court’s authority to issue an order limiting what he

27 views as his absolute liberty. And he does not dispute that he told that member that, if he had to shoot a

28 “tyrant”– meaning a government official – in the face, he wasn’t going to report himself to another

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 1 “tyrant.” Nor does he dispute that he had first-hand discussions with Steven Carrillo, the person charged

 2 with murdering one federal officer and attempting to murder another, or that they spoke about Carrillo’s

 3 plans to carry out an ambush attack just days before Carrillo is alleged to have done it. And though

 4 YBARRA has denounced Carrillo, he maintains the same anti-government, anti-law enforcement views

 5 that led him to be involved with Carrillo in the first place. These facts show that YBARRA remains a

 6 danger to the community.

 7          YBARRA asserts, without support, that the Court should not consider any of these facts because

 8 doing so would be to presume him guilty. Opp’n at 1:2-3; 2:10-14. That is not true. YBARRA’s

 9 association with an extremist group and his statements indicating his lack of respect for a court’s

10 authority are of course factors the Court may and should consider. See, e.g., United States v. McGibney,

11 2020 WL 4746179, at *3 (N.D. Ind. Aug. 14, 2020) (ordering the detention of a boogaloo extremist with

12 a distinguished record of service in the United States Marine Corps and no prior criminal history, and

13 stating, “True, being a Boogaloo is not illegal. Nor is it illegal to harbor anti-government sentiments.

14 But the Court is not determining guilt or innocence at this point. Rather, it is taking stock of

15 Defendant’s history and characteristics. The Court finds that membership in an organization that

16 advocates for a second civil war, killing law enforcement along the way, speaks poorly of Defendant’s

17 character. Accordingly, this factor weighs in favor of detention.”). See also United States v. Jenkins,

18 2017 WL 2985408, at *4 (M.D. Tenn. Jul. 13, 2017) (membership in the Gangster Disciples criminal
19 street gang relevant to the court’s assessment of the defendant’s dangerousness); United States v.

20 Digiacomo, 746 F. Supp. 1176, 1182 (D. Mass. 1990) (membership in the Mafia relevant to consid-

21 eration of defendant’s dangerousness and risk of non-appearance). Indeed, if YBARRA had been

22 volunteering his time with an organization that benefited the community instead of seeking to tear it

23 apart, he would insist that the Court consider that service in evaluating his suitability for release.

24          YBARRA says that he notified the government that he had recently started the purchase of two

25 pistols, and that he didn’t flee even after the FBI contacted him and searched his house in August 2020,

26 and that these facts show he’s amenable to supervision. Opp’n at 1, 3. They do not. First, the record as

27 to YBARRA’s recent effort to purchase two pistols is not as helpful as he claims. The FBI seized

28 YBARRA’s assault rifle during a search of his residence in August 2020. His recent effort to purchase

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 1 two pistols shows that he was attempting to re-arm himself. Further, when the Magistrate Judge in the

 2 Eastern District released YBARRA, the judge ordered that YBARRA neither possess nor have access to

 3 any firearms or ammunition, and that he provide written proof to the government that he had divested

 4 himself of any guns over which he had control. It does not appear that YBARRA mentioned to anyone

 5 at that time that he already had attempted to purchase more guns or was in the process of doing so. It

 6 was only after the Magistrate Judge had signed his release order and YBARRA had returned to the

 7 Northern District that YBARRA offered up this information. He shouldn’t win points for making a

 8 belated disclosure when he kept this information from the Magistrate Judge who was evaluating whether

 9 he should be released. Moreover, the government has been unable to locate the pistols with the

10 information YBARRA provided. The FBI contacted the Federal Firearms Licensee whom YBARRA

11 said had his guns, but that FFL was unable to find any record that someone with YBARRA’s name had

12 purchased guns. While the government continues to work with YBARRA’s attorney on this issue, as of

13 this filing, the government has been unable to locate the guns YBARRA apparently bought.

14          YBARRA also claims that he met with agents numerous times before his arrest and did not flee.

15 Though it is more accurate to say that he spoke with agents numerous times between August 6, 2020,

16 when the FBI executed a search warrant at his residence, and April 8, 2021, when the FBI arrested him,

17 his voluntary contacts with the FBI don’t show that he’s neither a flight risk nor a danger. 1 YBARRA’s

18 principal concern in these conversations appears to have been to avoid getting charged, so he spent
19 much of that time trying to convince the FBI agents that he was not involved in Steven Carrillo’s May

20 29, 2020 ambush murder and attempted murder in Oakland, and trying to strike a deal to avoid

21 prosecution. That didn’t work out as he’d hoped, and now he’s been charged. His pre-charge efforts at

22 engagement say little about how he will behave now.

23          Moreover, the recordings of those conversations show that YBARRA had no change of heart or

24 was any less an extremist than when he and the other Grizzlies were training for armed conflict with law

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26          On August 6, 2020, FBI agents executed a search warrant at YBARRA’s residence in Los
   Gatos. He spoke with the agents that day. Two agents called him four days later, on August 10, 2020,
27 and spoke to him by phone for about 90 minutes. On October 27, 2020, two agents met him in a park in
   Los Gatos and spoke with him for about an hour and 40 minutes. On November 24, 2020, agents spoke
28 with YBARRA by phone for about 42 minutes. On December 15, 2020, the agents met with YBARRA
   again for about 90 minutes.
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 1 enforcement. During his October 27, 2020 meeting with FBI agents, for example, YBARRA said that

 2 the reason the Grizzlies deleted evidence of their involvement with Carrillo and didn’t bring that

 3 evidence to law enforcement was that, “[i]n today’s climate, people with the mind-set to actually go out

 4 and train and engage with a well-regulated militia, are fairly wary of law enforcement types because it

 5 comes with the territory, we’re not sure whether they’re on the side of the people or not.” In other

 6 words, the reason the Grizzlies, including YBARRA, destroyed evidence related to a murder case is that

 7 they couldn’t be sure that the officers investigating that murder were on the side of “the people.” 2 The

 8 fact that YBARRA drew this distinction between law enforcement and “the people” in his conversations

 9 with the FBI in October 2020, shows how firmly committed he is to the views that led him to join an

10 extremist group in the first place.

11          When the agents asked YBARRA about his use of the term “well-regulated militia,” he lectured

12 them on the Second Amendment. He added that, in May and June 2020, there were “blatant threats by

13 politicians saying they were going to break their oaths of office in order to aggress against the people.”

14 This apparently was a reference to the Virginia Governor’s 2019 promise to pursue gun-control laws

15 that would have banned the sale of assault rifles and the possession of high-capacity magazines. The

16 fact that YBARRA saw a legislative agenda as a violation of the Governor’s oath of office and an act of

17 aggression against the citizens of Virginia shows how extreme his views were and are.

18          YBARRA repeated this sentiment in his November 24, 2020 call with the FBI, when he told the

19 agents that it would have been easier for the Grizzlies to come forward about Carrillo if they were in a

20 state that “respected the people’s right to form a militia.” 3 This shows that YBARRA maintains the

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22             It’s not clear which “people” he meant, but it evidently did not include the families of the
     victims who were relying on law enforcement to find the assailants.
23           3
               YBARRA apparently holds the mistaken view – perpetuated by extremists – that they have a
     constitutional right to form private militias. They do not. See, e.g., Presser v. Illinois, 116 U.S. 252,
24   267-68 (1886) (“It cannot be successfully questioned that the state governments, unless restrained by
     their own constitutions, have the power to regulate or prohibit associations and meetings of the people . .
25   . and have also the power to control and regulate the organization, drilling, and parading of military
     bodies and associations, except when such bodies or associations, are authorized by the militia laws of
26   the United States. The exercise of this power by the states is necessary to the public peace, safety, and
     good order. To deny the power would be to deny the right of the state to disperse assemblages
27   organized for sedition and treason, and the right to suppress armed mobs bent on riot and rapine.”);
     District of Columbia v. Heller, 554 U.S. 570, 620-21 (2008) (endorsing Presser); Cal. Penal Code
28   § 11460 (making it a misdemeanor for “[a]ny two or more persons [to] assemble as a paramilitary
     organization for the purpose of practicing with weapons,” and defining “paramilitary organizations” as
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 1 same extremist views that led him to join the Grizzlies in the first place. And that’s why he remains a

 2 danger to the community.

 3          B.      The Bond Conditions Do Not Mitigate the Risk YBARRA Poses.

 4          The Magistrate Judge released YBARRA to the custody of his guardian, with his “father” and

 5 “mother” guardians as sureties on a $50,000 unsecured bond. YBARRA argues, citing United States v.

 6 Ailemen, 165 F.R.D. 571, 580 (N.D. Cal. 1996), that the Court must consider detention in relation to

 7 release on conditions, and that these conditions (and the others the court imposed) are sufficient to

 8 mitigate any risks of danger or flight YBARRA poses. Though as a general matter it’s true that the

 9 Court considers detention vis-à-vis release on conditions, Ailemen doesn’t help YBARRA’s argument.

10 The issue in Ailemen was whether the defendant’s lengthy pre-trial detention violated his right to Due

11 Process, and the Magistrate Judge there balanced three factors – the expected length of pre-trial

12 detention, whether the government was responsible for the delay, and the “regulatory” interests served

13 by continued detention – in resolving that issue. Id. at 589. The defendant in that case had been in

14 custody for 26 months, and it appeared that his case would not go to trial for at least another nine

15 months. Id. “[T]he length of detention prong of the due process analysis weighs strongly in favor of

16 releasing Ailemen,” the Magistrate Judge found, and thus the other two factors “will have to weigh

17 strongly in favor of the government to justify continued detention.” Id. at 591. They did not, the Court

18 found, in part because the Court believed it could release the defendant to house arrest in a “highly
19 regimented, well-supervised half-way house” where staff could monitor his behavior, and this restriction

20 sufficiently mitigated the danger he posed that it no longer outweighed the extended incarceration he’d

21 already borne. Id. at 596.

22          Here, YBARRA has spent four days in custody so far and there is no indication that his case will

23 remain pending for an unreasonably long time. Moreover, neither Pre-Trial Services nor YBARRA’s

24 guardians can be expected to provide the kind of supervision YBARRA requires. Last year, YBARRA

25 armed himself and obtained tactical gear, joined an extremist group, and planned for violent

26 confrontations with law enforcement, all while living with these same guardians. His guardians may

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     organizations which are “not an agency of the United States government or the State of California”).
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 1 mean well, but they failed to see these things as indicators of radicalization before; it is not clear that

 2 they will be able to spot the signs that he is re-engaging with extremist groups or re-arming himself.

 3 YBARRA counters that his parents are now “sensitized” to the issue, and that his “father” is an expert in

 4 internet security, and that his guardians thus will provide adequate supervision. It is not clear what it

 5 means that his “father” is an expert in internet security, or how that applies here – this isn’t a hacking

 6 case or a case involving malware or other issues that typically fall under the heading “internet security.”

 7 YBARRA met his co-defendants on Facebook and they communicated over the phone and with

 8 common messaging applications. Unless YBARRA is representing that his guardian has installed

 9 monitoring software on his internet device(s), similar to that which Pre-Trial services installed on Jesse

10 Rush’s phone, 4 his guardian’s familiarity with computers doesn’t provide any assurance that YBARRA

11 will not re-engage with extremist groups.

12          In addition, YBARRA has been charged with obstructing justice by destroying records that not

13 only implicated one of his fellow extremists, but also showed YBARRA’s own involvement with that

14 person and YBARRA’s and the group’s discussions and plans related to attacks on law enforcement.

15 Nothing about his release conditions prevents him from continuing to impede these proceedings.

16          Finally, nothing YBARRA has said indicates a change in his view – which he expressed

17 repeatedly to his fellow extremists – that the government (including the Court) does not have the

18 authority to limit what he views as his absolute liberty. That’s the difference between a defendant like
19 YBARRA and a defendant in an ordinary drug or gun case. In the usual case, the defendant may dispute

20 the charges against him, but generally, he doesn’t dispute the government’s or the Court’s authority to

21 regulate his conduct. In those cases, it is at least plausible that the defendant will abide the conditions

22 the Court puts on his release because he recognizes the Court’s authority to do so. Here, YBARRA’s

23 own words show he does accept one of the most basic principles of our constitutional democracy,

24 namely, that legislatures and courts have the authority to regulate his conduct: he said, “IDGAF [I don’t

25 give a fuck] if a judge signs a piece of paper excusing the infringement of my rights, it is still an

26 infringement and should be treated as such,” meaning, he has the right to oppose that “infringement”

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28            The Court released Rush on a bond, but limited him to a single internet-enabled device, and
     required that he allow Pre-Trial to install monitoring software on it.
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 1 with force. It is for this reason that his adherence to extremist views matters. The Court cannot expect

 2 him to abide conditions that he does not believe the Court has the right to impose. It is for this reason

 3 that the government maintains he is not amenable to supervision, and releasing him to the custody of his

 4 guardians with an unsecured bond will not change that fact.

 5

 6 III.     CONCLUSION

 7          For the foregoing reasons, the government requests that the Court revoke the Magistrate Judge’s

 8 release order.

 9 DATED: May 4, 2021                                            Respectfully submitted,

10                                                               STEPHANIE M. HINDS
                                                                 Acting United States Attorney
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12                                                               _______/s/_________________
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